           Case 8-18-78239-las         Doc 54      Filed 03/20/19      Entered 03/20/19 16:44:10




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK


In Re:                                                        NOTICE OF PRESENTMENT TO
                                                              VACATE THE AUTOMATIC STAY
Julia Rosales
                                                              Case No.: 18-78239-las
                                                              (Chapter 7)
                         Debtor.
                                                              Assigned to:
                                                              Hon. Louis A. Scarcella
                                                              Bankruptcy Judge


         PLEASE TAKE NOTICE that an order will be presented for signature to the Honorable Louis A.

Scarcella at 290 Federal Plaza, Central Islip, NY 11722 on the Fifteenth day of April, 2019. The proposed order

will seek to vacate the automatic stay imposed by 11 U.S.C. §362 with regard to the premises commonly known

as 78 Ormonde Boulevard, Valley Stream, NY 11580 a copy of which order is annexed hereto.

         If you have good reason to object to the granting of the proposed order, you must do so in writing and at

least seven (7) days before the order is to be signed. You must serve the undersigned and all other entities to

whom this motion has been noticed, as indicated below, with a copy of your objections stating the legal grounds

and the facts which establish the reasons for your objections. The objections shall identify the motion to which

they are addressed by name of moving party, date of the hearing, relief sought by the motion, and by title, caption,

and index number of the case in which the motion is made. Within the same time you must also file with the

clerk of the Court the original of your objections together with proof by affidavit, admission, or otherwise that

copies have been properly served. If no proper objections are timely filed and served and if the judge is satisfied

from the application that the moving party is entitled to the relief sought, the order may be signed without a

hearing. If proper objections are timely filed and served, a hearing will be held before the Court on May 2, 2019

at 10:00 am at 290 Federal Plaza, Central Islip, NY 11722. If no objections are filed, the Court may sign the

order without further proceedings, or may direct that the hearing be held notwithstanding the absence of

objections.
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